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                                                      August 12, 2021

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:   United States v. Michael Avenatti
      19 Cr. 374 (JMF)

Dear Judge Furman:

       We write in response to the Court’s Order at docket number 140 directing the
defense to un-redact the names and addresses of the corporate entities contained in
paragraphs 14, 15, and 17 of docket number 139-1. Attached is the revised version of
docket number 139-1. Also attached are the financial status updates previously filed by
the defense under seal. The defense respectfully submits for the Court’s consideration a
redacted version of the June 2021 status update in accordance with the Court’s
individual rules and practices.

                                                      Respectfully Submitted,

                                                                   /s/
                                                      Robert M. Baum
                                                      Tamara L. Giwa
                                                      Andrew J. Dalack
                                                      Assistant Federal Defenders

Cc:   Government Counsel                              Counsel for Michael Avenatti
